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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,                       Case No. 1:22-cv-329

      Plaintiff,                                 STATE OF IDAHO’S RESPONSE TO
                                                 IDAHO LEGISLATURE’S
 v.                                              RENEWED MOTION TO
                                                 INTERVENE (Dkt. 105)
 THE STATE OF IDAHO,

      Defendant.


        The State takes no position on whether the Court should grant the Legislature’s motion to

intervene. The State will continue to vigorously defend Idaho’s abortion law in this case, and it

stands by its position and arguments in this matter.

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STATE OF IDAHO’S RESPONSE TO IDAHO LEGISLATURE’S RENEWED MOTION TO
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     DATED this 20th day of October, 2022.

                                             STATE OF IDAHO
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                                       By: /s/ Steven L. Olsen
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STATE OF IDAHO’S RESPONSE TO IDAHO LEGISLATURE’S RENEWED MOTION TO
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 20th day of October, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
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STATE OF IDAHO’S RESPONSE TO IDAHO LEGISLATURE’S RENEWED MOTION TO
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                                             /s/ Steven L. Olsen
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STATE OF IDAHO’S RESPONSE TO IDAHO LEGISLATURE’S RENEWED MOTION TO
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